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    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY
    Caption in Compliance with D.N.J. LBR 9004-1(b)

    FOX ROTHSCHILD LLP
    49 Market St.                                                       Order Filed on January 3, 2023
                                                                        by Clerk
    Morristown, NJ 07960                                                U.S. Bankruptcy Court
    Joseph J. DiPasquale, Esq.                                          District of New Jersey
    Michael R. Herz, Esq.
    Joseph A. Caneco, Esq.
    jdipasquale@foxrothschild.com
    mherz@foxrothschild.com
    jcaneco@foxrothschild.com
    Telephone: (973) 992-4800
    Facsimile: (973) 992-9125

    Counsel to the Debtor and Debtor in Possession

    In re:
                                                                Chapter 11 (Subchapter V)
    ASSUNCAO BROS., INC.,
                                                                Case No. 22-16159
                               Debtor.
                                                                Judge: Hon. Christine M. Gravelle

     ORDER GRANTING FIRST INTERIM APPLICATION OF FOX ROTHSCHILD LLP
      AS COUNSEL TO THE DEBTOR FOR ALLOWANCE OF COMPENSATION FOR
     PROFESSIONAL SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES
   INCURRED FOR THE PERIOD FROM AUGUST 3, 2022 THROUGH OCTOBER 31, 2022


                 The relief set forth on the following page numbered 2 is hereby ordered.




DATED: January 3, 2023




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 Page 2 of 2
 In re:         Assuncao Bros., Inc.
 Case No:       22-16159 (CMG)
 TITLE:         ORDER GRANTING FIRST INTERIM APPLICATION OF FOX ROTHSCHILD LLP AS COUNSEL TO
                THE DEBTOR FOR ALLOWANCE OF COMPENSATION FOR PROFESSIONAL SERVICES
                RENDERED AND REIMBURSEMENT OF EXPENSES INCURRED FOR THE PERIOD FROM AUGUST
                3, 2022, THROUGH OCTOBER 31, 2022




         The Court having found that the person(s) named below filed application(s) for allowances;

 and notice and opportunity for hearing were given to creditors and other parties in interest as

 required; and for good cause shown; it is

         ORDERED, that the compensation and expenses are allowed as follows:

           APPLICANT                           FEES                          EXPENSES

         Fox Rothschild LLP                    $214,957.50                   $7,475.93
         Counsel to the Debtor

         IT IS FURTHER ORDERED, that Fox Rothschild LLP be and herby is authorized to apply

 the Retainer (as defined in the Application) to reduce the awarded fees and expenses.

         IT IS FURTHER ORDERED, that the Debtor shall pay the above amount, net of the

 Retainer, to Applicant forthwith, except that the sum of $5,000.00 shall be held back by the Debtor

 pending the Court’s approval of a final fee application on behalf of Fox Rothschild LLP, and

 subject to the United States Trustee’s right to object to same.

         IT IS FURTHER ORDERED, that notwithstanding the entry of this Order or anything set

 forth herein or in the Application, NGM Insurance Company’s (“NGM”) claims and rights against

 Fox Rothschild LLP, if any, as a transferee of any trust funds are preserved, and nothing herein

 shall affect such rights and claims. The rights and defenses of Fox Rothschild LLP with respect to

 any rights and claims preserved for NGM under this paragraph are preserved.




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